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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

TONY TOREAL TOWNSEND,

                       Plaintiff,                              Case Number 06-15211
v.                                                             Honorable David M. Lawson
                                                               Magistrate Judge Steven D. Pepe
MICHAEL DUGGAN,

                  Defendant.
_____________________________________/

                             ORDER OF SUMMARY DISMISSAL

       The plaintiff, Tony Toreal Townsend, presently confined at the Carson City Correctional

Facility, has filed a pro se civil rights complaint pursuant to 42 U.S.C. § 1983. The plaintiff has not

paid the $350 filing fee or filed the appropriate documents to proceed in forma pauperis.

       The in forma pauperis statute permits a prisoner to file suit “without prepayment of fees”

if he submits an affidavit swearing that he is unable to pay the fee and listing all assets he owns

along with “a certified copy of the trust fund account statement (or institutional equivalent) for the

prisoner for the 6-month period immediately preceding the filing of the complaint.” 28 U.S.C. §

1915(a). The plaintiff in this case filed a certified trust account statement indicating he has a

spendable balance of $140.45. However, he did not submit the affidavit required by 28 U.S.C. §

1915(a).

       Where an inmate does not pay the full filing fee and fails to provide the required documents,

the district court must notify the prisoner of the deficiency and grant him thirty days to correct it or

pay the full fee. McGore v. Wrigglesworth, 114 F.3d 601, 605 (6th Cir.1997). On November 30,

2006, Magistrate Judge R. Steven Whalen signed an order of deficiency requiring the plaintiff to pay

the $350 filing fee or to submit an application to proceed in forma pauperis within thirty days of the
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order. To date, the plaintiff has neither paid the filing fee in full nor supplied this Court with the

requested information. If a prisoner does not correct a deficiency, the district court must presume

that the prisoner is not a pauper, assess the inmate the full fee, and order the case dismissed for want

of prosecution. Ibid. Under such circumstances, the case “is not to be reinstated to the district

court’s active docket despite the subsequent payment of filing fees.” Ibid.

        The Court will therefore dismiss the complaint for want of prosecution because of the

plaintiff’s failure to comply with Magistrate Judge Whalen’s deficiency order requiring him to

timely pay the filing fee or to provide the requested documentation needed to proceed in forma

pauperis. See Erby v. Kula, 113 Fed. Appx. 74, 75-76 (6th Cir. 2004); Davis v. United States, 73

Fed. Appx. 804, 805 (6th Cir. 2003).

       Accordingly, it is ORDERED that the complaint is DISMISSED for failure to comply with

the filing requirements of the Prison Litigation Reform Act.

       It is further ORDERED that this case is not to be reinstated to the Court’s active docket upon

the subsequent payment of filing fees.

                                                       s/David M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

Dated: March 12, 2007


                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on March 12, 2007.

                                                          s/Felicia M. Moses
                                                          FELICIA M. MOSES




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